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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


  NANCY RINEHART, individually and on          CASE NO. 3:16-CV-05128-MAS-
  behalf of all others similarly situated,     LHG

              Plaintiff,

  v.

  AS AMERICA, INC. d/b/a American
  Standard, a Delaware corporation and
  SAFETY TUBS COMPANY, LLC, a
  Delaware limited liability company,

               Defendants.


       MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
               REASONABLE ATTORNEYS’ FEES
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 I.    INTRODUCTION

       The class action Settlement Agreement reached in this Telephone Consumer

 Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) case truly presents an

 outstanding result for Settlement Class Members who file timely and valid claims.

 Indeed, under the terms of the Settlement, As America, Inc. and Safety Tubs

 Company, LLC (collectively “Defendants” or “American Standard”) have created

 a Settlement Fund in the amount of $600,000, from which Settlement Class

 Members may make claims for either cash payments up to $1,000 or for

 certificates up to $2,000 that can be used to purchase any safety tub product.

 American Standard will also be required to ensure it is in compliance with the

 TCPA going forward. This Settlement Agreement thus presents significant benefits

 to the Settlement Class Members and well exceeds the typical amount awarded in

 TCPA class actions.

       Such impressive results are the direct result of the meaningful time, effort,

 and energy devoted to the litigation by Settlement Class Counsel and Class

 Representative Nancy Rinehart (“Plaintiff” or “Rinehart”). Indeed, the Settlement

 Agreement and its favorable terms were only made possible by Class Counsel’s

 hard work investigating and prosecuting the case and negotiating the terms through

 a formal mediation process that included two full-day mediation sessions.

       In recognition and compensation for this work, the Settlement Agreement



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 calls for an attorneys’ fee award to Class Counsel in the amount of 29% of the

 Settlement Fund ($174,000) and an incentive award of $5,000 to Rinehart for

 dutifully acting as the Class Representative. Such a fee and incentive award are

 demonstrably reasonable and fall below the benchmark for attorneys’ fee awards in

 the Third Circuit when a common fund is created. Further, the requested fee is

 reasonable under the lodestar method based on the amount of effort and time

 expended by Class Counsel to bring, prosecute, and settle this action. Indeed,

 following a lodestar crosscheck, a multiplier of only 1.18 is required to substantiate

 the fee request, which is within the range typically seen in similar settlements.

       The Court should approve the incentive award for Settlement Class

 Representative Rinehart as well. Plaintiff is seeking an incentive award in the

 amount of $5,000, which is reasonable when viewed in light of her role in bringing

 this suit, and commensurate with incentive awards ordered in comparable

 settlements. Put simply, without Reinhart’s steadfast participation as the named

 Plaintiff, the Settlement would never have been achieved in the first instance.

       For all of these reasons, and as discussed further below, Plaintiff respectfully

 requests the Court enter an Order granting the instant Motion and approving the

 negotiated attorneys’ fees and incentive award.

 II.   LEGAL, FACTUAL, AND PROCEDURAL BACKGROUND

       A.     The TCPA and its Implementing Regulations.



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       A brief summary of the law that forms the basis of Plaintiff’s claims helps

 put the Settlement Agreement in its proper context. Congress enacted the TCPA in

 1991 as a response to “[v]oluminous consumer complaints about abuses of

 telephone technology . . . .” Mims v. Arrow Financial Servs., LLC, 132 S. Ct. 740,

 744 (2012). In enacting the TCPA, Congress sought to “protect the privacy

 interests of telephone subscribers.” Satterfield v. Simon & Schuster, Inc., 569 F.3d

 946, 954 (9th Cir. 2009); see also Mims, 132 S. Ct. at 745.

       To prevail on a claim under the TCPA, a plaintiff must show that a person:

 (1) made a telephone call; (2) using an Automatic Telephone Dialing System

 (“ATDS”); (3) to a telephone number assigned to a cellular telephone service. See

 47 U.S.C. § 227(b)(1)(A)(iii). Whether Plaintiff and other Class Members provided

 their prior express consent to receive such telephone calls is an affirmative defense.

 See, e.g., Grant v. Capital Mgmt. Srvs., L.P., 499 F. App’x 598, 600 n.1. (9th Cir.

 2011) (“‘express consent’ is not an element of a TCPA plaintiff’s prima facie case,

 but rather is an affirmative defense for which the defendant bears the burden of

 proof.”); see also Evankavitch v. Green Tree Servicing, LLC, 793 F.3d 355, 366

 (3d Cir. 2015) (recognizing that it is a defendant’s burden to show prior express

 consent was obtained as an affirmative defense).

       The TCPA also prohibits multiple unsolicited calls made to phone numbers

 that have been registered on the national Do Not Call registry, a list maintained by



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  the federal government. See 47 U.S.C. § 227(c). Consumers who register their

  phone numbers are entitled to heightened protections, including a cause of action

  whenever they receive more than one unsolicited call during any 12-month period

  where their phone number had been on the registry for at least 30 days. See 47

  U.S.C. § 227(c)(5).

        The TCPA additionally sets statutory damages of $500 per violation and

  provides for injunctive relief prohibiting the further transmission of such messages.

  See 47 U.S.C. § 227(b)(3)(A-B). Such damages may be trebled where willfulness

  is shown. See 47 U.S.C. § 227(b)(3)(C).

        B.     Plaintiff’s Allegations and Proposed Class Counsel’s Investigation
               of the Claims.
        This case begins with the national Do Not Call registry. That is, on August

  27, 2005, Plaintiff Rinehart registered her cellular phone number on the National

  Do Not Call Registry to avoid receiving unsolicited telemarketing calls. (Compl. at

  22.) Notwithstanding the fact that her number had been on the Do Not Call registry

  for over a decade, beginning on June 23, 2016, Plaintiff Rinehart began receiving

  unsolicited telemarketing calls from Defendants. (Id. at 23.)

        Plaintiff received multiple calls from Defendants on a daily basis attempting

  to market and sell their “Safety Tubs” brand of walk-in bathtubs. (Id. at 24-25.) In

  making the calls at issue, Plaintiff claims Defendants used an automatic telephone

  dialing system. (Id. at 23.) Critically, Plaintiff claims she never provided her prior


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  express written consent to be called. (Id. at 27.)

        Given the persistence of the calls, Plaintiff sought out legal assistance by

  contacting the Law Offices of Stefan Coleman, P.A. (Declaration of Patrick H.

  Peluso, “Peluso Decl.”, attached hereto as Exhibit A, ¶ 2.) Upon being contacted

  by Rinehart, attorney Coleman’s office promptly commenced a thorough

  investigation into her allegations and claims, including a review of Defendants’

  websites, public information regarding complaints about Defendants’ calling

  practices, and the phone calls placed to Plaintiff. (Id. ¶ 3.) Thereafter, Mr. Coleman

  contacted Steven L. Woodrow and Patrick H. Peluso, experienced TCPA class

  action counsel, in an effort to work together to prosecute the case. (Id. ¶ 4.)

        Counsel thereafter worked together to draft Rinehart’s class action

  complaint, which was ultimately filed on August 23, 2016 (3:16-cv-05128-MAS-

  LHG). (Id. ¶ 7.) (Dkt. 1.)

        C.     Litigation, Early Settlement Discussions, and Mediation.
        Defendants answered November 3, 2016. (Dkt. 9.) Counsel for the Parties

  thereafter began discussions regarding the merits of the case. These frank talks

  helped facilitate an exchange of information relevant to the key issues in the case,

  including the manner by which Defendants claimed they obtained prior express

  consent. As a result of this back and forth dialogue, counsel for the Parties agreed

  to engage in private mediation in an effort to resolve the dispute. (Peluso Decl. ¶¶



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  5.)

        As stated above, prior to the mediation the parties exchanged informal

  discovery. This included information identifying the approximate number of

  unique telephone numbers that had been called for the same purpose (and using the

  same equipment) as Plaintiff and the total number of calls placed to each cellphone

  user. And as set forth above, it also included the manner by which Defendants’

  claimed to have procured Plaintiff’s phone number and consent to call (i.e., the

  contractorlink.net website). (Id. ¶ 7.) Proposed Class Counsel used this information

  to estimate the size of the proposed classes and to calculate the extent of

  Defendants’ liability, exposure, and ability to settle. (Id. ¶ 8.)

        Counsel for the Parties ultimately agreed to mediate with the Honorable

  John J. Hughes (ret.) of JAMS in Philadelphia, a respected third-party neutral with

  substantial class action experience. (Id. ¶ 6.) On June 12, 2017, counsel for the

  Parties convened at JAMS’s offices in Philadelphia to begin the process. (Id. ¶ 9.)

  Following two full days of arm’s-length negotiations, the Parties emerged from the

  mediation with a framework for settlement. (Id. ¶ 10.) Only after the Parties

  reached an agreement with respect to the relief to be provide to the Settlement

  Class members did the Parties negotiate an incentive award for Class

  Representative Reinhart and an award of reasonable attorneys’ fees for Settlement

  Class Counsel. (Id. ¶ 11.)



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        Hence, the instant Settlement is the result of substantial and meaningful

  efforts expended by counsel for all Parties. And as explained below, the terms of

  the Settlement Agreement stack up well when compared to other TCPA

  settlements—indeed, the results here are exceptionally favorable for the Settlement

  Class by nearly any measure. As such, and as set forth below, the Court should

  grant preliminary approval.

        Plaintiff moved for preliminary approval on January 22, 2018. (Dkt. 18.)

  The Court held a hearing on the Motion on March 18, 2018 (Dkt. 22) and granted

  Preliminary Approval on March 26, 2018. (Dkt. 24.) A summary of the

  Settlement’s key terms follows.

        D.     Terms of the Settlement Agreement and Provision for Reasonable
               Attorneys’ Fees and Incentive Awards.

        The “Settlement Class” is defined as: all persons in the United States who

  (1) from a date four years prior to the filing of this Complaint until the date notice

  is disseminated to the Class, (2) were called by Defendants (or any third-party

  acting on behalf of Defendants), (3) on the persons’ cellular telephones, (4) for the

  purpose of selling Defendants’ products or services, and (5) had their lead

  information obtained by Defendants via the contractorlink.net website. (Settlement

  Agreement ¶ 1.7.)

        Class Counsel, through their efforts in the case in terms of pre-suit

  investigation, briefings, the exchange of informal discovery, conferences with

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  opposing counsel, and the mediation process, were able to negotiate and reach a

  settlement that provides substantial monetary and prospective relief to Settlement

  Class members who file claims.

        Under the terms of the Settlement, American Standard has established a

  Settlement Fund consisting of $600,000 from which Class Members may make

  claims to receive either individual cash payments of $1,000 or certificates for

  $2,000 to use towards the purchase of a Safety Tubs brand product. All payments

  made pursuant to the Settlement will come from the Settlement Fund, including:

  (1) the payment of all claims (submitted and paid in accordance with the provisions

  below), (2) all administrative, notice, and claims expenses (the “Settlement

  Administration Costs”), (3) the incentive awards to the Class Representatives

  (“Incentive Award”), and (4) any award of reasonable attorneys’ fees and

  reimbursement of expenses (“Attorneys’ Fees and Costs”) as approved by the

  Court. (Peluso Decl. ¶ 12.) Such amounts dwarf the relief commonly secured by

  TCPA class action settlements.

        In addition to the monetary relief provided to Class Members who file

  claims, American Standard has also agreed to take forward-looking action to

  prevent unlawful actions to continue in the future. That is, through the Settlement,

  Defendants have agreed to use commercially-reasonable efforts to comply with the

  TCPA for a period of eighteen (18) months from the Effective Date (which



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  includes verifying that their leads have provided prior express consent to be

  called).

        As stated above, the Court held a hearing on Plaintiff’s Motion for

  Preliminary Approval of Class Action Settlement and granted preliminary approval

  to the Settlement Agreement on March 26, 2018. Following the granting of

  preliminary approval, the Settlement Administrator caused Notice to be sent to the

  last known mailing address of 384 Class Members. (Peluso Decl. ¶ 14.) Each Class

  Member was sent, via first-class mail, the approved Notice Form and Claim Form.

  (Id.) Additionally, Class Counsel has obtained the Class List and has started the

  process of calling each individual Settlement Class Member so as to encourage and

  assist each of them with the filing of their claims. (Id. ¶ 15.)

        The Settlement Agreement also provides that American Standard will not

  oppose an application submitted by Plaintiff for an incentive award to Rinehart, as

  representative of the Settlement Class, subject to Court approval, of five thousand

  dollars ($5,000). (Settlement Agreement Art. ¶ 8.1.) The Settlement Agreement

  further states that American Standard will not oppose an application submitted by

  proposed Class Counsel for an award of one hundred seventy-four thousand dollars

  ($174,000 USD) in Attorneys’ Fees and Expenses. (Id. ¶ 8.1.)

        As explained below, given the substantial relief obtained for the benefit of

  the Settlement Class, the Court should approve the requested attorneys’ fees of



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  $174,000, which represents 29% of the Settlement Fund established under the

  Settlement Agreement attained in this case before considering the value of the

  prospective relief.

  III.   ARGUMENT

         When considering attorney’s fees in common fund settlements in the Third

  Circuit, “the percentage-of-recovery method has long been preferred” over the

  lodestar method.1 See, e.g., Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195

  n. 1 (3d Cir. 2000) (outlining the seven “Gunter factors”, analyzed below, that

  courts must consider when determining the reasonableness of the requested

  percentage); see also Brytus v. Spang & Co., 203 F.3d 238, 243 (3d Cir. 2000); see

  also In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Products Liab. Litig., 55

  F.3d 768, 821 (3d Cir. 1995); In re Prudential, 148 F.3d at 333-34 (“The

  percentage-of-recovery method is generally favored in cases involving a common

  fund, and is designed to allow courts to award fees from the fund in a manner that

  rewards counsel for success and penalizes it for failure”) (internal quotations and


  1
    Operating as an exception to the American Rule, the common fund doctrine
  “provides that a private plaintiff, or plaintiff’s attorney, whose efforts create,
  discover, increase, or preserve a fund to which others also have a claim, is entitled
  to recover from the fund the costs of his litigation, including attorneys’ fees.” In re
  Diet Drugs, 582 F.3d 524, 540 (3d Cir. 2009) (citing
  In re Cendant Corp. Sec. Litig., 404 F.3d 173, 187 (3d Cir. 2005)) (internal
  quotations and
  citations omitted).


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  citations omitted); see also In re AT & T Corp., 455 F.3d 160, 164 (3d Cir. 2006)

  (same) (internal quotation marks omitted); see also In re Rite Aid Corporation

  Securities Litig., 396 F.3d 294, 300 (3d Cir. 2005).2 Appropriate percentages

  routinely range from one-third up to as high as 45 percent of a common fund.

  McDonough v. Toys R Us, Inc., 80 F. Supp. 3d 626, 653 (E.D. Pa. 2015)

  (collecting cases); Smith v. Dominion Bridge Corp., 2007 WL 1101272, at *9

  (E.D. Pa. Apr. 11, 2007) (same).

        The lodestar calculation—class counsel’s time in the case multiplied by its

  hourly rates—is not to be ignored, however. Rather, the Third Circuit suggests a

  “lodestar/multiplier” cross-check, through which the Court may adjust the

  percentage award if it would require an unreasonable multiplier. See In re Rite Aid

  Corp., 396 F.3d at 300; see also In re Cendant Corp. Litig., 264 F.3d 201, 215, 256

  (3d Cir. 2001); see also Erie Cty. Retirees Ass’n v. Cty. of Erie, Pennsylvania, 192

  F. Supp. 2d 369, 377-78 (W.D. Pa. 2002).

        As set forth below, Class Counsel’s request for 29% of the Settlement Fund

  is fully supported by the Gunter factors, additional considerations including the


  2
    Commentators have noted that “one purpose of the percentage method” of
  awarding fees—rather than the lodestar method, which arguably encourages
  lawyers to run up their billable hours—“is to encourage early settlements by not
  penalizing efficient counsel. . . .”
  Gunter, 223 F.3d at 198 (citing Manual for Complex Litigation, supra, § 24.121, at
  207, citing 3 Herbert B. Newberg & Alba Conte, Newberg on Class Actions §
  14.03, at 14-3 to 14-7 (3d ed. 1992)).

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  strength of the settlement, and a lodestar cross check.

        A.     Class Counsel’s request for attorneys’ fees of 29% of the
               settlement fund is consistent with awards in other common fund
               cases in this Circuit.

        In determining an appropriate attorney fee award under the percentage-of-

  recovery approach, courts are guided by the seven well-known “Gunter” factors:

  (1) the size of the fund created and the number of persons benefitted; (2) the

  presence or absence of substantial objections by members of the class to the

  settlement terms and/or fees requested by counsel; (3) the skill and efficiency of

  the attorneys involved; (4) the complexity and duration of the litigation; (5) the risk

  of nonpayment; (6) the amount of time devoted to the case by plaintiffs' counsel;

  and (7) awards in similar cases. In re Rite Aid, 396 F.3d at 301 (citing Gunter v.

  Ridgewood Energy Corp., 223 F.3d 190, 195 n. 1 (3d Cir. 2000)). These factors

  “need not be applied in a formulaic way ... in certain cases, one factor may

  outweigh the rest.” Id.

        As set forth below, each of the Gunter factors, plus additional

  considerations, supports granting the requested attorneys’ fees.

               1.     The size of the fund represents significant value for
                      Settlement Class Members given the relatively-small size of
                      the Class.

        The first factor examines the size of the fund and the number of persons

  benefitted. Here, Class Counsel not only secured substantial amounts for the Class



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  members (again, $1,000 in cash or $2,000 in a certificate is available)—the

  Settlement Agreement also benefits consumers going forward because American

  Standard has agreed to take commercially-reasonable efforts to comply with the

  TCPA.

        Such results exceed the amount per claim typically available in TCPA

  settlements, as illustrated by the following chart:


                       CASE NAME                        AMOUNT PER CLAIMANT

        Rose v. Bank of Am. Corp., 2014 WL          $20.00 to $40.00
        4273358 (N.D. Cal. Aug. 29, 2014)

        In re Jiffy Lube Int’l, Inc. Text Spam      $12.97; or, $17.29 voucher
        Litig., 11-md-2261 (S.D. Cal.)

        Kazemi v. Payless Shoesource, Inc.,         $25.00 voucher
        09- cv-5142 (N.D. Cal.)

        In re Capital One Telephone Consumer $34.60
        Protection Act Litigation, 12 C 10064
        MDL No. 2416 (N.D. Ill. 2015)

        Steinfeld v. Discover Financial             $48.69
        Services, 12-cv-1118 JSW (N.D. Cal.)

        Bellows v. NCO Fin. Sys., 2008 U.S.         $70.00
        Dist. LEXIS 13525 (S.D. Cal. 2008)

        Malta v. Fed. Home Loan Mortg.              $84.82
        Corp., 10-cv-1290 BEN (S.D. Cal.)

        Wilkins, et al. v. HSBC Bank Nevada,        $102.62
        N.A., 14 C 190 (N.D. Ill.)

        Gutierrez v. Barclays Grp., 10-cv-1012 $100.00
        (S.D. Cal.)



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        Robles v. Lucky Brand Dungarees,           $100.00
        Inc., 10-cv-4846-MMC (N.D. Cal.)

        Kramer v. B2Mobile, 10-cv-2722 CW          $100.00
        (N.D. Cal.)

        Lanza v. Upscale Events by Mosaic,         $150.00
        LLC, 13-cv-80093 DMM (S.D. Fla.)

        Ellison v. Steven Madden, Ltd., 11-cv-     $150.00
        5935 (C.D. Cal.)

        Bayat v. Bank of the West, C 13-2376       $151.00
        EMC (N.D. Cal.)

        Weinstein v. The Timberland Co., et        $150.00
        al., 06-cv-454 (N.D. Ill.)

        Satterfield v. Simon & Schuster, Inc.,     $175.00
        06-cv-2893 (N.D. Cal.)

        Rojas v. Career Education                  $200.00
        Corporation, 10-cv-5260 (N.D. Ill.)

        Lozano v. Twentieth Century Fox Film       $200.00
        Corp., 09-cv-6344 (N.D. Ill.)


        Of course, $1,000 in cash (or $2,000 in a certificate) is far larger and more

  meaningful than $20 or $200. The instant Settlement is thus demonstrably

  reasonable when weighed against other settlements under the TCPA that have been

  approved as fair, reasonable and adequate. See In re Capital One Tel. Consumer

  Prot. Act Litig., 80 F. Supp. 3d 781, 789 (N.D. Ill. 2015) (discussing range of

  acceptable TCPA class settlements based on per claimant recovery and approving

  $34.60 per claiming member); see also Rose v. Bank of Am. Corp., 5:11-CV-

  02390, 2014 WL 4273358, at *10 (N.D. Cal. Aug. 29, 2014) (discussing range of


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  acceptable TCPA settlements and approving a range of $20.00 to $40.00 per

  claimant).

        It is important to recall that litigating a nationwide class action requires

  “unique legal skills and abilities.” In re Omnivision Techs., Inc., 559 F. Supp. 2d

  1036, 1047 (N.D. Cal. 2008). Although the skill required to successfully prosecute

  a class action is evident, the “single clearest factor reflecting the quality of class

  counsels’ services to the class are the results obtained.” In re Heritage Bond Litig.,

  Case No. 02-ML-1475-DL, 2005 WL 1594389, at *12 (C.D. Cal. June 10, 2005).

  Additionally, the quality and expertise of opposing counsel is important to

  consider. See Cohorst v. BRE Props., Inc., Case No. 3:10-CV-2666-JM-BGS, 2011

  WL 7061923, at *20 (S.D. Cal. Nov. 14, 2011).

        As an additional point, absent unusual circumstances a smaller common

  fund increases the percentage of recovery. See In re Cendant Corp. PRIDES Litig.,

  243 F.3d 722 (3d Cir. 2001) (Emphasis added.)3 That is, $600,000, while

  substantial, is not a settlement fund equal to tens of millions (or even hundreds of

  millions of dollars, as some class action settlements can reach) that would warrant


  3
    To be sure, under the percentage-of-recovery approach, the Court should look at
  the amount of fees requested in relation to the total settlement benefits conferred,
  regardless of whether those benefits are actually claimed. See e.g., Boeing Co. v.
  Van Gemert, 444 U.S. 472, 480-81 (1980); 2 NEWBERG § 1.18 (“[I]t is now
  settled that class counsel may seek a fee award based on the total potential benefit
  to the class, rather than being limited by the total amount of claims actually
  exercised by class members.”).

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  a smaller percentage so as to avoid a windfall to Class Counsel.

        As such, the Settlement Agreement secures the maximum funds that could

  have been obtained for the most people under the circumstances. There can be little

  argument, therefore, that the first factor weighs in favor of approving the requested

  attorneys’ fees.

               2.     The presence or absence of substantial objections by
                      members of the class to the settlement terms and/or fees
                      requested by counsel is presently unknown and will be
                      addressed in papers filed in support of Final Approval
                      following the objection/exclusion deadline.

         At this time the presence or absence of substantial objections by members

  of the class to the settlement terms and/or fees requested by counsel is unknown.

  No objections to the Settlement has been received at this time; however, several

  weeks remain before the objection deadline of June 29, 2018. As such, objections

  to the settlement or to the request for attorneys’ fees, to the extent any are filed,

  will be addressed in Class Counsel’s forthcoming Motion for Final Approval of

  Class Action Settlement. Having said that, given the strong relief made available

  by the Settlement it is unlikely that there will be substantial objections.

               3.     The skill and efficiency of the attorneys involved support
                      the requested attorneys’ fees.

        Class Counsel are well-respected members of the legal community, have

  significant experience litigating similar TCPA class actions, and have frequently been

  appointed lead class counsel by courts throughout the country for class action

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  settlements in general, and TCPA class action settlements more specifically. (Peluso

  Decl. ¶¶ 16, 27.)

          Class Counsel have diligently investigated, prosecuted, and dedicated

  substantial resources to the investigation and prosecution of the claims at issue in this

  case, and towards the settlement, and will continue to do so throughout the pendency

  of both. (Peluso Decl. ¶ 17.) Class Counsel worked to ensure that they were (and

  remain) well versed in both the facts of the case and the elements of the Class’s legal

  claims and Defendants’ defenses. (Id. ¶ 19.) It was with this knowledge that

  Settlement Class Counsel successfully negotiated the settlement on terms that are

  favorable to the Class and were achieved efficiently, through a minimal use of the

  Court’s resources. (Id. ¶ 22.) Class Counsel pushed for early settlement discussions

  and vigorously prepared for the two full-day mediation sessions that resulted in the

  Settlement.

          Consequently, the skill and efficiency of the attorneys’ supports the requested

  fees.

                4.     The complexity and duration of the litigation supports the
                       request for attorneys’ fees.

          This lawsuit was filed nearly two years ago. While the Parties commenced

  their settlement discussions early on in the case, the intricacy and nature of the

  litigation plainly support the request for attorneys’ fees. Counsel for the parties

  exchanged discovery on informal bases prior to and throughout the mediation

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  process, including discovery regarding the size and scope of the class and the

  strength of the claims, such that Class Counsel was able to fully prepare for the

  mediation.

        Indeed, Settlement Class Counsel was required to prepare for a 2-day

  mediation session with Magistrate John Hughes (Ret.) of JAMS in Philadelphia.

  Substantial work was performed in advance of both sessions so as to ensure that

  the proposed Settlement Class Members would be adequately represented in the

  discussions by knowledgeable advocates. And, of course, meaningful work was

  performed following the mediation to finalize the settlement, including preparing

  all documents for the Court’s approval, working with the settlement administrator

  to launch the Settlement Website and to disseminate the Class Notice, responding

  to inquiries made by Class Members, and affirmatively reaching out to Class

  Members to encourage/assist them with the filing of their claims.

        As such, although the parties started their settlement discussions early (at the

  Court’s urging), the complexity of those negotiations and of the litigation more

  generally cannot seriously be questioned. This factor thus supports awarding the

  requested fees.

               5.    As Class Counsel took this case on contingency against a
                     large sophisticated business, the risk of nonpayment
                     supports the fee award.

        The fifth factor, which assesses the risk of nonpayment, also weighs in favor



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  of granting the requested attorneys’ fees. Class counsel have not been paid hourly

  for their services. Indeed, to date Class Counsel hasn’t received any compensation

  for their work to date. Rather, their agreements with the named plaintiff show that

  they assumed the risk of nonpayment in this case by taking the matter on a

  contingency basis. (Peluso Decl. ¶ 18.) And although Class Counsel viewed the

  merits of the case as being relatively strong, that by no means ensured that they

  would receive compensation for bringing and litigating the action. Defendants

  hired experienced counsel and repeatedly expressed a willingness to vigorously

  defend the matter. And as the Court is well aware, even the strongest cases have

  faults, and even large jury verdicts are not immune from being overturned

  following appellate review.

         This is particularly true given the strength of the relief made available.

  Under the TCPA, Class Members would be entitled to $500 per violation, or

  $1,500 if willfulness were to be proven. See 47 U.S.C. 227(c)(5). Under the

  Settlement, each Class Member may choose $1,000 in cash or $2,000 worth of

  safety tub products.4 Thus, proceeding to trial would only garner a marginal

  benefit, if any.

         Indeed, at the time of filing this lawsuit on a contingent fee basis, Class


  4
    It is worth noting that any Settlement Class Member who elects to receive a
  $2,000 certificate for Safety Tubs products plainly values such a certificate at more
  than $1,000.

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  Counsel knew they may spend hundreds of hours of attorney time in contested

  litigation with no guarantee of recovery. To date, they have, in fact, devoted

  hundreds of hours representing Plaintiff and the Class without compensation and

  spent time on the issues that may have been spent on cases or work matters.

  (Peluso Decl. ¶ 20.) And as explained further below, Class Counsel has also

  advanced the costs of this suit, a total of $12,016.31, without reimbursement.

        As such, this factor also supports granting the requested attorneys’ fees.

               6.    The substantial time devoted to the case by Class Counsel
                     also supports the fee award.

        As indicated above with respect to the complexity of the case and the

  duration of the litigation, and as set forth more completely below with respect to

  the lodestar cross-check, Class Counsel has devoted substantial time and resources

  to prosecuting the case, negotiating the Settlement Agreement, and seeing the

  resolution through to completion. All told, two plaintiffs firms combined on this

  case and expended a total of 387.7 hours pursuing the litigation and resolution. The

  work performed necessarily prevented Class Counsel from pursuing other matters,

  including hourly work that does not carry a concomitant risk of nonpayment.

  Consequently, the time that Class Counsel have and continue to devote to the case

  supports the requested attorneys’ fees.

        And as a final point here, the time spent is in addition to $12,016.31 that

  Class Counsel have incurred in out-of-pocket costs and expenses. In addition to the

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  more standard filing and service charges, such expenses include costs of the

  mediation sessions and travel expenses for the mediations and hearings.

        This factor therefore supports the requested attorneys’ fees as well.

              7.     An award of 29% of the Settlement Fund is comparable to
                     awards in similar cases.

        Courts faced with TCPA class action settlements that feature a common fund

  routinely award attorneys’ fees greater than the 29% of the Settlement Fund sought

  here. See Landsman & Funk, P.C. v. Skinder-Strauss Associates, No. 15-2485,

  2016 WL 611441, at *3 (3d Cir. Feb. 16, 2016) (unpublished decision) (affirming

  award of one-third of reversionary settlement fund in TCPA class action settlement

  where requested fees were twice the amount of class counsel’s lodestar); see also

  Bridgeview Health Care Ctr., Ltd. v. Jerryclark, No. 09 C 5601, 2015 WL

  4498741, at *2 (N.D. Ill. July 23, 2015) (awarding one-third of common fund in

  TCPA class action); see also Hageman v. AT & T Mobility LLC, No. CV 13-50-

  BLG-RWA, 2015 WL 9855925, at *4 (D. Mont. Feb. 11, 2015) (approving fee

  award of “$15 million, or one-third of the common fund recovery” in TCPA class

  action settlement against AT&T); see also Saf–T–Gard Int'l, Inc. v. Seiko Corp. of

  Am., No. 09 C 0776 (N.D. Ill. Jan. 14, 2011) (awarding one-third of common fund

  in multimillion dollar TCPA class action); see also Vandervort v. Balboa Capital

  Corp., 8 F. Supp. 3d 1200, 1210 (C.D. Cal. 2014) (“Accordingly, the Court awards

  attorney’s fees and costs in the amount of $1.1 million, or 33% of the $3.3 million

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  settlement fund ceiling amount.”); see also Lees v. Anthem Ins. Companies Inc.,

  No. 4:13CV1411 SNLJ, 2015 WL 3645208, at *4 (E.D. Mo. June 10, 2015)

  (Approving fees in TCPA settlement representing “34% of the actual fund

  available to Class Members.”); see also Kolinek v. Walgreen Co., 311 F.R.D. 483,

  501 (N.D. Ill. 2015), appeal dismissed (Jan. 27, 2016), appeal dismissed (Feb. 1,

  2016), appeal dismissed (Feb. 3, 2016) (awarding 36% of common fund in TCPA

  class action settlement); see also Spine & Sports Chiropractic, Inc. v. ZirMed, Inc.,

  No. 3:13-CV-00489, 2015 WL 9413143, at *1 (W.D. Ky. Dec. 22, 2015)

  (approving one third of fund as attorney’s fees).

        Likewise, a fee award of 29% of the Settlement Fund is consistent with

  awards approved in consumer class actions more generally outside the TCPA

  context. See In re Greenwich Pharm. Sec. Litig., CIV. A. 92-3071, 1995 WL

  251293, at *6–7 (E.D. Pa. Apr. 26, 1995) (awarding fee of 33.3%); see also In re

  SmithKline Beckman Corp. Sec. Litig., 751 F. Supp. 525, 533 (E.D. Pa. 1990)

  (noting range of fees from 19% to 45%); see also Bradburn Parent Teacher Store,

  Inc. v. 3M (Minnesota Mining & Mfg. Co.), 513 F. Supp. 2d 322, 341 (E.D. Pa.

  2007) (approving a 35% award for a $39,750,000 common fund); see also In re

  Corel Corp. Inc. Sec. Litig., 293 F.Supp.2d 484, 497 (E.D. Pa. 2003) (approving an

  award of 33.3% against a $7,000,000 common fund). Indeed, courts award

  percentages that routinely range from one-third up to as high as 45 percent of a



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  common fund. See McDonough, 80 F. Supp. 3d at 653 (collecting cases); see also

  Dominion Bridge Corp, 2007 WL 1101272, at *9 (E.D. Pa., Apr. 11, 2007) (same);

  see also In re Sterling Fin. Corp. Sec. Class Action, 2009 WL 2914363, at *4 (E.D.

  Pa., Sept. 10, 2009) (approving 30% in fees of common fund of $10.25 million and

  stating “the settlement fund is not so large as to support a percentage smaller than

  thirty percent”) (emphasis supplied).

        As such, a fee award of 29% falls well within the range of awards approved

  in TCPA and other consumer class action settlements.

               8.    The value of benefits conferred by counsel, the percentage
                     counsel would have negotiated as a fee had representation
                     been undertaken on contingency basis, and any innovative
                     terms of settlement all support the requested attorneys’
                     fees.

        In addition to warning against the formulaic application of the Gunter

  factors, courts have also cautioned that Gunter’s considerations are “not intended

  to be exhaustive.” In re AT & T, 455 F.3d at 165; see also In re Prudential Ins. Co.

  of America Sales Practice Litig., 148 F.3d 283, 340 (3d Cir. 1998) (noting three

  additional factors that may be relevant to common-fund fee analysis: value of

  benefits conferred by counsel as distinguished from benefits conferred by other

  parties; percentage counsel would have negotiated as fee had representation been

  undertaken on contingency basis; and any innovative terms of settlement).

        Such additional considerations readily weigh in favor of supporting the



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  requested fees. Class Counsel conferred all of the benefits secured under the

  Settlement Agreement and took the case on a contingency basis (see Peluso Decl. ¶

  18.) Had such a percentage been negotiable from the outset, Class Counsel would

  have negotiated a recovery of 33.33% at a minimum, and more likely would have

  negotiated a higher amount, such as 40%, which is more consistent with present-

  day contingency fees.

        Lastly here, the Settlement Agreement unquestionably contains innovative

  terms designed to maximize relief to the Settlement Class Members. First, the

  amounts available are impressive, and consumers are given a choice between cash

  or a certificate that is worth twice as much by face value. Second, Defendants have

  agreed to take meaningful action to render its calling practices compliant with the

  TCPA. As a result, Settlement Class Members who file timely claims are poised to

  receive substantial benefits when compared to the typical TCPA class action

  settlement.

        B.      Class Counsel’s request for attorneys’ fees is also supported a
                lodestar crosscheck—a multiplier of only 1.18 would be needed to
                justify the requested fees.

        As explained above, in the Third Circuit, the percentage award is subject to a

  “lodestar/multiplier” crosscheck. See In re Rite Aid Corp., 396 F.3d at 300; see

  also In re Cendant Corp. Litig., 264 F.3d 201, 215, 256 (3d Cir. 2001); see also In

  re Gen. Motors Corp., 55 F.3d at 821; see also Erie Cty. Retirees Ass’n v. Cty. of



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  Erie, Pennsylvania, 192 F. Supp. 2d at 377-78. “[T]he lodestar cross-check does

  not trump the primary reliance on the percentage of common fund method”, it

  entails “neither mathematical precision nor bean-counting” and the Court “may

  rely on summaries submitted by the attorneys and need not review actual billing

  records.” In re Rite Aid Corp., 396 F.3d at 306-07. “In performing the lodestar

  cross-check, the district courts should apply blended billing rates that approximate

  the fee structure of all the attorneys who worked on the matter.” In re Rite Aid

  Corp. Sec. Litig., 396 F.3d at 306 (3d Cir. 2005), as amended (Feb. 25, 2005).

  “Multiples ranging from one to four are frequently awarded in common fund cases

  when the lodestar method is applied.” In re Prudential, 148 F.3d 283, 341 (3d

  Cir.1998) (quoting 3 Herbert Newberg & Alba Conte, Newberg on Class Actions,

  S 14.03 at 14–5 (3d ed.1992)); see also In re Cendant Corp. PRIDES Litig., 243

  F.3d 722, 742 (3d Cir. 2001); see also Milliron v. T-Mobile USA, Inc., 423 F.

  App'x 131, 135 (3d Cir. 2011) (although “the lodestar multiplier need not fall

  within any pre-defined range…we have approved a multiplier of 2.99 in a

  relatively simple case.”)

        Applied here, Class Counsel’s base lodestar of $137,363.50 readily serves as

  a fair crosscheck against the requested percentage award. Broken down by

  attorney, Class Counsel’s lodestar is calculated as follows:




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            Attorney Name/Firm         Position      Rate   Hours        Lodestar
            Steven Woodrow (WP)        Partner       $440     33.6         $14,784
             Patrick Peluso (WP)       Partner       $340    252.3         $85,782
             Stefan Coleman (SC)       Partner       $475     53.3       $25,317.50
             Blake Duggar (SC)        Associate      $250     22.7          $5,675
             Taylor Smith (WP)        Associate      $225     25.8          $5,805
                LODESTAR                                     387.7    $137,363.50

  The hours spent are manifestly reasonable in light of the work required to attain

  such a favorable result for the Class.5 Indeed, from their pre-suit investigation

  through today Settlement Class Counsel has devoted substantial time and resources

  to the successful prosecution and resolution of the case, including:

        •       A pre-suit investigation into the facts and claims;

        •       Drafting and filing the pleadings;

        •       Designing and executing on a successful litigation and settlement
                strategy;

        •       Engaging in early informal discovery as well as exchanging
                information through the mediation process;

        •       Mediating the case through two contentious full-day mediation
                sessions with Magistrate Judge John Hughes (Ret.) of JAMS in
                Philadelphia;

        •       Negotiating the settlement and drafting and revising the settlement
  5
    See Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 200 (3d Cir. 2000)
  (describing the process—of providing time summaries initially, with further billing
  records to be provided should the court request them—as “consonant with the
  practice in this circuit.”); In re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 307 (3d
  Cir. 2005), as amended (Feb. 25, 2005) (district court may “rely on summaries.”)

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               documents;

        •      Finalizing the agreement and all related settlement papers and
               presenting the settlement to the Court for preliminary approval; and

        •      Answer Settlement Class Member inquiries and assisting Settlement
               Class Members with the claims process.

  (Peluso Decl. ¶ 21.)

        In short, Class Counsel have devoted significant time to the successful

  investigation, prosecution, and settlement of these claims. In the process they have

  expended substantial time and have incurred a base lodestar equal to $137,363.50.

  Given this amount, the total fees being requested, ($174,000 - $12,016.31 in

  expenses = $161,983.68), requires only a 1.18 multiplier.6 A 1.18 multiplier falls

  well within the range of multipliers that have been recognized as reasonable in this

  Circuit. See In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 742 (3d Cir. 2001)

  (reiterating that multipliers from 1 to 4 are common). And this analysis does not

  include the additional attorney time required from this point through final approval

  and the close of the claims process, which will include travel to New Jersey,

  additional significant drafting of the final approval papers, and assisting Class

  members with the claims process.

        Accordingly, the requested attorneys’ fees represent a multiplier of only 1.18


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    To the extent the Court determines that it wishes to review Class Counsel’s time
  entries, Class Counsel is readily able to provide such time entries for in camera
  review.

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  above Class Counsel’s lodestar. This further evidences the reasonableness of the

  requested attorneys’ fees.

        C.      The Court should approve Class Counsel’s expenses

        The Court should approve Class Counsel’s reasonable out-of-pocket

  expenses of $12,016.31. These costs reflect Class Counsel’s actual expenditures

  incurred in researching and initiating the lawsuit, litigating the case, and engaging

  in the mediation process and settlement.

        Given the results achieved and the fact that the expenses incurred where

  essential to successfully prosecuting the case and achieving a resolution, the Court

  should approve the request for reimbursement of expenses in the amount of

  $12,016.31.

        D.      The Court should also approve the Class Representative Incentive
                Awards.

        Subject to the Court’s approval, the Agreement also provides that Plaintiff

  Rinehart shall receive and incentive award of five thousand dollars ($5,000.00)

  each to be paid out of the Settlement Fund. “Courts routinely approve incentive

  awards to compensate named plaintiffs for the services they provided and the risks

  they incurred during the course of the class action litigation.” Cullen v. Whitman

  Med. Corp., 197 F.R.D. 136, 145 (E.D. Pa. 2000) (internal citations omitted); see

  In re Linerboard Antitrust Litig., 2004 WL 1221350 at *18 (E.D. Pa. June 2, 2004)

  (citing In re Plastic Tableware Antitrust Litig., 2002 WL 188569 (E.D. Pa. Dec. 4,

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  1998) (“Like the attorneys in this case, the class representatives have conferred

  benefits on all other class members and they deserve to be compensated

  accordingly.”)).

        Here, Plaintiff Reinhart’s involvement was critical to the resolution of this

  litigation and ultimate success of the Agreement. (Peluso Decl. ¶¶ 24, 25.) Plaintiff

  assisted counsel by helping in the investigation of her claims and providing

  counsel with valuable information relating to their receipt of the calls at issue. (Id.)

  Plaintiff’s willingness to make the time commitment and undertake the

  responsibilities and risks involved in bringing a representative action resulted in

  substantial benefit to their fellow Class members. Indeed, Plaintiff is preparing to

  participate in the final fairness hearing as well.

        To be sure, $5,000 is reasonable in light of awards in other cases. See, e.g.,

  Lees v. Anthem Ins. Companies Inc., 2015 WL 3645208, at *4 (E.D. Mo. June 10,

  2015) (approving $10,000.00 incentive award and collecting cases); see also In re

  Linerboard Antitrust Litig., 2004 WL 1221350, at *19 (E.D. Pa. 2004) (approving

  incentive awards of $25,000.00 to each of five named plaintiffs); see also In re

  Residential Doors Antitrust Litig., 1998 WL 151804, at *11 (E.D. Pa. Apr. 2,

  1998) (approving $10,000.00 incentive awards to each of four named plaintiffs).

        Accordingly, the agreed-upon incentive award is reasonable and should be

  approved.



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  IV.   CONCLUSION

        For the reasons set forth above, Plaintiff and Class Counsel respectfully

  request that the Court grant this motion and (1) award attorneys’ fees and expenses

  to Class Counsel in the amount of $174,000 and (2) award $5,000 as an incentive

  award to the Class Representative for her role in representing the class.

  Dated: June 14, 2018                   Respectfully submitted,

                                         Nancy Rinehart, individually and on behalf
                                         of all others similarly situated,

                                         By: s/Patrick H. Peluso
                                         One of Plaintiff’s Attorneys

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                            CERTIFICATE OF SERVICE

        The undersigned certifies that, on June 14, 2018, I caused this document to

  be electronically filed with the Clerk of the Court using the CM/ECF system,

  which will send a notification of filing to all counsel of record for each party.



                                          s/ Stefan Coleman




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